Fil| in this information to identify the case:

Debtor name L and C Care Provlders, lnc.l dba Care Provldere-24

United S!ales Bankruptcy Courf for the: NORTHERN D|STR|CT OF CAL|FORN!A

 

Case number (if known)

 

E| Check if this is an
amended filing

 

 

Ofncial Form 202
Declaration Under Pena|ty of Perjury for Non-|ndividual Debtors ms

An individual whole authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and ||abllltiee, any other document that requlres a declaration that is not included in the document. and any
amendments of those documents. This form must state the lndlvldual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Ruies 1008 and 9011.

WARN|NG - Bankruptcy fraud ls a serious crime. Mak|ng a false statement, concealing property, or obtaining money or property by fraud ln

connection with a bankruptcy case can result ln fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

- Dec|aratlon and signature

| am the president another ofHoer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and l have a reasonable belief that the information is true and correct

Schedule A/B: Assets-Real and Personai Property (Offlc|a| Form 206A/B)

Schedule D: Credirors Who Have Ciaims Secured by Property (Official Form 206D)

Schedule E/F.' Creditors Who Have Unsecured Cleims (Oflicial Form 206E/F)

Schedule G.' Executory Contracts and Unexpired Leases (Officia| Form ZOGG)

Schedule H.' Codebtors (Officia| Form 206H)

$ummary of Assets and Liabiliries for Non-lndividuals (Ofi“lcial Form ZOSSurn)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Cleims and Are Noi /nsiders (Official Form 204)
Other document thai requires a declaration

 

E|IDU|:]E|E|E|E]

 

| declare under penalty of perjury that the foregoing is true and correct

Executed on Aprl| 8, 2019 X /sl Sisiiia Fotu
Signature of individual signing on behalf of debtor

Sisi|ia Fotu
Printed name

President
Position or relationship to debtor

Oflicia| Form 202 Declaration Under Pena|ty of Perjury for Non-indivlduai Debtors

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Fi|i in this information lo identin the case

Debtor name L and C Care Providers, lnc., dba Care Providers-24

United States Bankruptcy Couit for the: NORTHERN DiSTRlCT OF C] Check if this is an
CALIFORN|A

 

Case number (if known): amended filing

 

 

Officia| Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Ciaims and
Are Not insiders 12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 iargest unsecured claims.

 

Name of creditor and Name, telephone number Nature ot claim indicate ii claim Amount of claim
complete mailing address, and small address of (for examp|e. trade la contingent. if the claim ls fully unsecured, fill ln only unsecured claim amount if
including zip code creditor contact debts bank loens, unilquidoted, or claim is partially secured. illi in total claim amount and deduction for
professional services disputed value of collateral or se off to calculate unsecured cisim.

and governm€m Tota| cla|m, ii Deduction for value Uneecured claim
oontracts) partially secured of collateral or setoff

A|G National Union $12,483.00
Networked
insurance Agents
LLC

443 Crown point
Circ|e, Unit A
Novato, CA 94945

Aioi Katoa Contingent $592,61 8.81
clo Kevin W. Unliquidated
Rehwaldl Esq. Disputed
Chaleff Rehwald
5855 Topanga
Canyon Boulevard,
Suite 400
Woodland Hills, CA
91367-4621

AT&T Wire|ess 5450.00
P.O. Box 537104
Atlanta, GA
30353-7104
Bank of $15,981.40
America-Business
Card

P.O. Box 1 5796
Wilmington. DE

1 9886-5796
Comcast $95.40
P.O. Box 60533

City of lndustry, CA
91716-0533

EDD $3,670.09
P.O. Box 826880
Sacramento, CA
94280-0001

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

official form 204 Chapter 11 or Chapter 9 Cases: List of Crediiors Who Have the 20 Largest Unsecured claims page 1

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Debf°' L and C Care Providers, inc., dba Care Providers-24

Name

Case number (if known)

 

 

Name of creditor and
complete mailing sddrsss,
including zip code

Nsms. telephone number Nature of claim indicate if claim
and small sddress cf (for example, trade is contingent,
creditor contact debts, bank loans. unliquidated. or
professional services. disputed

Amount of claim

if the claim is fully unsecured. fill in only unsecured claim amounl. if
claim is partially secured. fill in total claim amount and deduction for
value of collateral or setoff to calculate unsecured claim.

 

Total clslm, if
partially secured

Deduction for value Unsecured claim
of collateral or setoff

 

eFax-j2 G|oba|

6922 Hollywood
Boulevard, 5th Floor
Los Angeies, CA
90028

$16.95

 

Fastrak

Bay Area Metro
Center

375 Beale Street
San Francisco, CA
94105

$25.00

 

HCC Bonds
American
Contractors
indemnity

801 S. Flgueroa St.,
Suite 700

Los Angeles, CA
90017

$350.00

 

|PFS Corporation
777 South Figueroa
Street, Suite 300
Los Ange|es, CA
90017

$10,075.67

 

lRS
Ogden, UT
84201-0030

$4,024.76

 

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itunes.com

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3rd F|oor

San Francisco, CA
94103

$5.99

 

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Recovery Services
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Avenue

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$48.66

 

Northem CA
Collection Services
P.O. Box 13765
Sacramento, CA
95853

$33,500.00

 

Pittsburg Dispoeal
P.O. Box 4988
Whittier, CA 90607

$72.05

 

Progressive
insurance

Rod Crain insurance
Agency

2271 Railroad
Avenue

Pitlsburg, CA 94565

 

 

 

 

 

 

$5,511.28

 

 

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Chapter 11 or Chapter 9 Cases: List of Crediiors Who Have the 20 Largest Unsecured claims page 2

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Debior
Name

L and C Care Providers, |nc., dba Care Providers-24

Case number (ifknown)

 

 

Name of creditor and
complete mailing addreas,v
including zip code

Name, telephone number
and small address of
creditor contact

Nature of claim

(for exampie. trade
debts. bank ioans.
professional services.

indicate if claim
le contingent,
unliquidated, or
disputed

Amount of claim

ii the claim le fully unsecured, fill in only unsecured claim amount if
claim is partially eecured, flii in total claim amount and deduction for
value cf collateral or setoff to calculate unsecured claim.

 

Tt>tl| cla|m, if
partially secured

Deductlon for value
of collateral or setoff

Unaecured claim

 

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lntuit, |nc.

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Mountain View, CA
94043

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QuickBooks Payroll
lntuit, lnc.

2632 Marine Way
Mountain View, CA
94043

$80.00

 

Wa|nut Creek Post
office Box

1922 Tice Valiey
Bouievard

Wa|nut Creek, CA
94595

$140.00

 

Winter Chevrolet
Co., inc.

3750 Century Court
Pitcsburg, CA 94565

 

 

 

 

 

 

 

$30,1 58.65

 

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Chapter 11 or Chapter 9 Caaes: List of Cred|tors Who Have the 20 Largest Unsecured claims

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